                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 07-0060
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 JOHN SHULER,                                      RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEAS
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On October 24, 2007, a four-count Second Superseding Indictment was returned
against the defendant John Shuler. On October 26, 2007, the defendant appeared before
United States Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1 and
3 of the Second Superseding Indictment. On October 26, 2007, Judge Scoles filed a
Report and Recommendation in which he recommended that defendant’s guilty pleas be
accepted. No objections to Judge Scoles' Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Scoles' recommendation to
accept defendant’s pleas in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of October 26,
2007, and accepts defendant’s pleas of guilty in this case to Counts 1 and 3 of the Second
Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 13th day of November, 2007.




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